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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


FRIENDS OF THE EARTH, et al.,
                                                      Case No. 21-cv-02317-RDM
                       Plaintiffs,

               v.

DEBRA A. HAALAND, et al.,

                       Defendants,

               and

STATE OF LOUISIANA,

                       Intervenor-Defendant.



     PLAINTIFFS’ RESPONSE TO THE AMERICAN PETROLEUM INSTITUTE’S
                        MOTION TO INTERVENE

       Plaintiffs Friends of the Earth, et al. file this response to the American Petroleum

Institute’s (“API”) motion to intervene as Defendants. Mot. Intervene, Dkt. 31 (Oct. 8, 2021).

Plaintiffs do not object to API’s request to intervene subject to three reasonable conditions.

Plaintiffs respectfully request that the Court impose these reasonable limitations to ensure that

API’s participation does not unnecessarily duplicate arguments, complicate or delay this

litigation, or create an undue burden on Plaintiffs and this Court.

       The Supreme Court has established that “[a]n intervention of right under the amended

Rule 24(a) may be subject to appropriate conditions or restrictions responsive among other

things to the requirements of efficient conduct of proceedings.” Stringfellow v. Concerned



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Neighbors in Action, 480 U.S. 370, 383 n.2 (1987); see Fed. R. Civ. P. 24(a) advisory

committee’s note on 1966 amendment (“An intervention of right under the amended rule may be

subject to appropriate conditions or restrictions responsive among other things to the

requirements of efficient conduct of the proceedings.”). Conditioning intervention for purposes

of judicial efficiency is “a firmly established principle.” Beauregard, Inc. v. Sword Servs., LLC,

107 F.3d 351, 352–53 (5th Cir. 1997); see also San Juan Cnty. v. United States, 503 F.3d 1163,

1189 (10th Cir. 2007) (recognizing Rule 24 permits “limitations on the scope of intervention”).

“Even where intervention is a matter of right, district courts may impose appropriate conditions

or restrictions upon the intervenor’s participation in the action.” WildEarth Guardians v. Salazar,

272 F.R.D. 4, 13 (D.D.C. 2010) (citations omitted). “The district court’s discretion to impose

reasonable restrictions on participation is consonant with its inherent power to manage the

litigation before it, as well as a necessary instrument in accommodating the two conflicting goals

of intervention: i.e., ‘to achieve judicial economies of scale by resolving related issues in a single

lawsuit, and to prevent the single lawsuit from becoming fruitlessly complex or unending.’” Id.

(citations omitted); accord W. Org. of Res. Councils v. Jewell, Civ. No. 14-1993, 2015 WL

13711094, at *7 (D.D.C. July 15, 2015). Plaintiffs respectfully request that the Court impose

three reasonable conditions should it allow intervention: (1) require Intervenors to file joint

briefing or share page limits; (2) in the event Intervenors and Federal Defendants move for

summary judgment, Plaintiffs be allowed to submit consolidated briefing in response to all

motions with extended page limits; (3) bar API from bringing cross- or counter-claims or filing

any other motions that are not already accounted for in the current briefing schedule.

       The first two conditions are warranted here because API has failed to meet its burden to

demonstrate that Intervenor-Defendant State of Louisiana will not adequately represent its




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interests in whole or in part. An intervenor must show “no party to the action can be an adequate

representative of the applicant’s interests.” Karsner v. Lothian, 532 F.3d 876, 885 (D.C. Cir.

2008) (quoting SEC v. Prudential Sec. Inc., 136 F.3d 153, 156 (D.C. Cir. 1998)). “The original

burden of showing inadequate representation rests on the applicant for intervention.” Dimond v.

District of Columbia, 792 F.2d 179, 192 (D.C. Cir. 1986). API has substantially similar

economic interests to Intervenor State of Louisiana, yet API dedicates one sentence in its motion

to asserting that although the “State of Louisiana has a financial interest in Lease Sale 257 going

forward, Louisiana’s interest are qualitatively different than the interests of API’s in conducting

exploration and production operations on the Gulf of Mexico OCS.” Dkt. 31 at 23. API does not

explain why it believes representation may be inadequate or how any purported incongruity in

interests may manifest in divergent litigation approaches.

       To the extent API alleges that its economic interests will be impaired by a ruling in favor

of Plaintiffs, that allegation substantially overlaps with the State of Louisiana’s economic

interests. Indeed, it is tied to the same leasing and development that the State advocates.

Plaintiffs therefore respectfully ask the Court to impose two conditions that would prevent

excessive briefing and the attendant burdens on the Court and the parties. Specifically, Plaintiffs

ask that the Court: (1) require Intervenors to file joint briefing or share page limits; and (2) in the

event Intervenors and Federal Defendants move for summary judgment, Plaintiffs be allowed to

submit consolidated briefing in response to all motions with extended page limits adequate to

address arguments in the three separate motions. These conditions would provide an equitable

and adequate way for API to represent its interests in this case while avoiding the problems of

excessive or extraneous briefing. See, e.g., Earthworks v. U.S. Dep’t of the Interior, No. 09-

01972, at *3 (D.D.C. Aug. 3, 2010) (“In order to prevent excessive briefing in this case,




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however, the Associations must submit joint motions and memoranda with the existing

Intervenors.”). Imposing page limits and consolidating briefing ensures “fair, efficacious, and

prompt resolution of the litigation,” and “prevent[s] the single lawsuit from becoming fruitlessly

complex or unending.” Salazar, 272 F.R.D. at 20–21 (imposing page limits, a requirement that

intervenors justify making separate filings, and a requirement that intervenors submit a joint

statement of facts). Further, it will help to ensure that multiple motions do not delay review and

that Plaintiffs are not prejudiced. See, e.g., W. Org. of Res. Councils, 2015 WL 13711094, at *7

(limiting intervenors to less than half the page limits provided by local rules).

       Plaintiffs conferred with other parties in this case regarding conditions. Intervenor State

of Louisiana and API do not consent to joint briefing or splitting pages at this time. All parties

agree to Plaintiffs filing a consolidated response with reasonable adjustments to the page limit

for response brief. The parties conferred on page limits for a consolidated brief but were unable

to reach agreement before submitting this response. Plaintiffs will continue to work with the

parties to propose page limits for a combined brief once the Court rules on API’s motion for

intervention.

       Plaintiffs respectfully request that the Court impose a third condition to limit API’s

participation because API did not file a responsive pleading with its motion for intervention.

Instead, it intends to seek an extension of time to file an answer. Dkt. 31-2. Fed. R. Civ. P. 24(c)

requires a motion to intervene be accompanied by a pleading that sets out the claim or defense

for which intervention is sought. The purpose of a responsive pleading is to “place the other

parties on notice of the claimant's position, the nature and basis of the claim asserted, and the

relief sought by the intervenor.” Dillard v. City of Foley, 166 F.R.D. 503, 506 (M.D. Ala. 1996);

Hughes v. Abell, No. CV 09-220 (JDB), 2014 WL 12787807, at *7 (D.D.C. Feb. 10, 2014)




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(affirming a magistrate’s imposition of requirement under FRCP 24(c) because it “serves an

important purpose” and “[i]t would have been helpful in determining the common claim or

defense issue[s].”).

        In order to ensure the parties are on notice of API’s position and will not be prejudiced,

and to ensure that any extraneous motions will not delay resolution of this case, Plaintiffs

respectfully request that this Court require API to confine its arguments to the existing claims in

this action and to bar API from bringing cross- or counter-claims or filing any other motions that

are not already accounted for in the current briefing schedule. Cf. Friends of the Headwaters v.

U.S. Army Corps of Eng’rs, 2021 WL 1061162, at *4 (D.D.C. March 20, 2021) (barring

intervenors from raising new claims or collateral issues); Red Lake Band of Chippewa Indians v.

U.S. Army Corps of Eng’rs, 338 F.R.D. 1, at 6 (D.D.C. 2021) (barring intervenors from

“inject[ing] new claims or stray into collateral issues”); Salazar, 272 F.R.D. at 21 (barring

intervenors from raising new claims or collateral issues); Hewett v. City of King, No.

1:12CV1179, 2013 WL 12320076, at *3 (M.D.N.C. Sept. 23, 2013) (same); W. Org. of Res.

Councils, 2015 WL 13711094, at *7 (same).

        This condition, which will allow API to adequately represent its interests and foster the

expeditious resolution of this case, is particularly important here. Plaintiffs conferred with

prospective intervenor regarding this condition. API represented that it has no current plans or

expectations of filing any other motion or seeking any other relief, beyond what is set forth in the

current briefing schedule, but still reserves its right to revisit the issue in the event matters not

currently addressed by the Court’s scheduling order arise in this case. The Federal Rules

expressly prohibit API from revealing its positions after being granted intervention. If API

wishes to raise new claims or defenses, it must make those known now, when the Court and




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parties can consider intervention. Given the expedited schedule that has already been ordered by

this Court, Dkt. 24, API should not be allowed to make a run around the rule requirements.

Because API has failed to comply procedurally or in spirit with FRCP 24 requirements, this

Court should bar API from raising any different claims or filing extraneous motions later, after

intervention is granted.

                                          CONCLUSION

       These three conditions will provide an equitable and adequate way for Intervenors to

represent their interests in this case, while avoiding problems of excessive briefing and

promoting the timely resolution of the issues in dispute. Plaintiffs respectfully request that this

Court impose these three conditions in any order granting intervention by API.


       Respectfully submitted this 15th day of October, 2021.


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